Upon review of the prior Order, plaintiffs Petition to Sue as Indigent, and plaintiffs T-1 Claim for Damages, the Full Commission has determined that Commissioner Ballance properly dismissed plaintiffs claim for damages and properly denied plaintiffs Petition to Sue as an Indigent.
                               ***********
Plaintiff filed a complaint alleging injury as a result of several intentional acts committed by personnel with the Department of Correction. Injuries intentionally inflicted by employees of a State agency are not compensable under the Act. G.S. 143-291; Davis v. NorthCarolina State Hwy. Commn, 271 N.C. 405, 156 S.E.2d 685 (1967). Plaintiff has failed to allege negligence on the part of an employee or agent of the Department of Correction.
Plaintiffs claim is hereby DISMISSED WITH PREJUDICE and plaintiffs Petition to Sue as Indigent is hereby DENIED.
                                   S/______________ RENE C. RIGGSBEE COMMISSIONER
CONCURRING:
  S/_____________ THOMAS J. BOLCH COMMISSIONER
  S/_______________ DIANNE C. SELLERS COMMISSIONER